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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF LOUISIANA
ALEXANDRIA DIVISION

 

THE STATE OF LOUISIANA etal.,
No. 1:21-cv-3867

Plaintiffs,
Vv. Judge Dee D. Drell
JOSEPH R. BIDEN et al., Magistrate Judge Joseph H. L. Perez-Montes
Defendants.

 

 

ORDER

The parties have filed a joint motion to stay proceedings in this case. For good cause
shown, the Court GRANTS the parties’ motion to stay. All deadlines in this case shall be, and
hereby are, STAYED until May 31, 2023, and the parties shall file a joint status report on or

before May 31, 2023.

It is SO ORDERED.

March ZY , 2023 AT AeeKXtnae ra, La oS

DEE D. DRELL, SENIOR JUDGE
UNITED STATES DISTRICT COURT

 
